                                                                                   Case 4:13-md-02420-YGR Document 475 Filed 07/11/14 Page 1 of 4



                                                                         1
                                                                         2
                                                                         3
                                                                         4
                                                                         5
                                                                         6
                                                                         7
                                                                         8                                    UNITED STATES DISTRICT COURT
                                                                         9                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
United States District Court




                                                                         11   IN RE:                                                  No. 13-MD-02420 YGR (DMR)
                               For the Northern District of California




                                                                         12                                                           ORDER ON JOINT DISCOVERY
                                                                                       LITHIUM ION BATTERIES                          LETTER [DOCKET NO. 459]
                                                                         13            ANTITRUST LITIGATION
                                                                         14
                                                                         15   ___________________________________/
                                                                         16
                                                                         17            On June 13, 2014, the parties submitted a joint discovery letter brief. [Docket No. 459.] At
                                                                         18   issue is whether and to what extent discovery should proceed at this stage in this antitrust class
                                                                         19   action. The presiding judge has resolved one set of motions to dismiss, but another set of motions is
                                                                         20   pending. The pleadings are not yet settled, but it is clear that some portion of the case will move
                                                                         21   forward. The court held a hearing on July 10, 2014. This order summarizes the rulings made on the
                                                                         22   record. In reaching these rulings, the court determined that in light of the phased approach to Rule
                                                                         23   12 motion practice, it is appropriate to conduct phased discovery as well. The court considered the
                                                                         24   discovery requests made by Plaintiffs, then applied the proportionality principles set forth in Federal
                                                                         25   Rule of Civil Procedure 26(b)(2)(C)(iii) by outlining a fair (though necessarily imprecise)
                                                                         26   understanding of the current contours of the case, then balancing the benefits and burdens of moving
                                                                         27   forward with certain discovery.
                                                                         28   I.       Discovery Protocols
                                                                                    Case 4:13-md-02420-YGR Document 475 Filed 07/11/14 Page 2 of 4



                                                                         1             The parties shall submit their protocol on the form of production of electronically stored
                                                                         2    information (“ESI”) for the court’s approval by no later than July 31, 2014. The parties shall submit
                                                                         3    their deposition protocol for the court’s approval by no later than August 15, 2014. If the parties
                                                                         4    have not reached full agreement regarding the deposition protocol by August 15, 2014, they shall
                                                                         5    submit a joint letter pursuant to the court’s Standing Order re Discovery setting forth all agreements
                                                                         6    reached and identifying any specific disputes for resolution by the court.
                                                                         7    II.      Disclosure of Details Regarding Defendants’ U.S. Department of Justice and/or Grand
                                                                                       Jury Productions
                                                                         8
                                                                                       Each Defendant that produced documents to the U.S. Department of Justice and/or any grand
                                                                         9
                                                                              jury in connection with any investigation relating to lithium ion batteries or battery products shall
                                                                         10
                                                                              identify the following information for the sources from which documents were ultimately produced:
United States District Court




                                                                         11
                                                                              1) the identities of current and former employees whose documents were produced; 2) the time
                               For the Northern District of California




                                                                         12
                                                                              period for which documents and information were collected; and 3) the types of sources that were
                                                                         13
                                                                              searched for information (e.g., mobile phones, instant messages, etc.). This information shall be
                                                                         14
                                                                              produced to Plaintiffs by no later than August 15, 2014.1
                                                                         15
                                                                              III.     Rule 26(a)(1) – Initial Disclosures by Foreign Defendants
                                                                         16
                                                                                       Each foreign Defendant (other than the four entities exempted below) shall comply with its
                                                                         17
                                                                              initial disclosure obligations regarding identification of individuals and documents pursuant to Rule
                                                                         18
                                                                              26(a)(1)(A)(i) and (ii). For the time being, the scope of relevant claims and defenses that shall
                                                                         19
                                                                              define these disclosure requirements encompasses Plaintiffs’ allegations of a conspiracy among the
                                                                         20
                                                                              foreign Defendants to fix prices of lithium ion batteries at the cell level, for the period 2002 to 2011.
                                                                         21
                                                                              These initial disclosures must be served on Plaintiffs by no later than September 17, 2014.
                                                                         22
                                                                                       The court requires further information to determine whether it is appropriate to impose these
                                                                         23
                                                                              initial disclosure obligations on foreign Defendants NEC Corporation, GS Yuasa Corporation,
                                                                         24
                                                                              Toshiba Corporation, and Sony Energy Devices Corporation. Therefore, by July 24, 2014, Plaintiffs
                                                                         25
                                                                              and Defendants NEC Corporation, GS Yuasa Corporation, Toshiba Corporation, and Sony Energy
                                                                         26
                                                                         27
                                                                                       1
                                                                         28                The court notes that it did not set a response date for this information at the July 10, 2014
                                                                              hearing.

                                                                                                                                    2
                                                                                   Case 4:13-md-02420-YGR Document 475 Filed 07/11/14 Page 3 of 4



                                                                         1    Devices Corporation shall submit a joint letter brief on the subject of whether these four defendants
                                                                         2    should be required to provide the initial disclosures described above at this time. Each of the four
                                                                         3    defendants are allotted three pages of the joint letter brief in which to make their arguments.
                                                                         4    Plaintiffs’ portion of the joint letter brief may not exceed ten pages.
                                                                         5            After the initial disclosures described above are complete, the parties shall meet and confer
                                                                         6    regarding whether the scope of the foreign Defendants’ initial disclosures should encompass their
                                                                         7    defenses to the alleged conspiracy to fix prices of lithium ion batteries at the original equipment
                                                                         8    manufacturers (“OEM”) level. If the parties are unable to reach agreement on this subject they may
                                                                         9    submit a joint letter brief outlining their dispute.
                                                                         10   IV.     Foreign Defendants’ Sales & Cost Data
United States District Court




                                                                         11           The court does not order the production of transactional data at this time. However, the
                               For the Northern District of California




                                                                         12   parties are ordered to begin detailed meet and confer proceedings on ESI in order to be prepared to
                                                                         13   start search and production without delay as the contours of the case become clearer.
                                                                         14           Using the Northern District of California’s Checklist for Rule 26(f) Meet and Confer
                                                                         15   Regarding Electronically Stored Information (“ESI Checklist”) and Guidelines for the Discovery of
                                                                         16   Electronically Stored Information, Plaintiffs and all foreign Defendants are ordered to immediately
                                                                         17   begin meeting and conferring on Plaintiffs’ request for sales data on a transaction-by-transaction
                                                                         18   basis and cost data (“transactional data”). In addition to the subjects listed on the ESI Checklist, the
                                                                         19   parties shall meet and confer regarding the appropriate time frame and geographic scope for
                                                                         20   production of transactional data.
                                                                         21           All parties, including the foreign Defendants’ American subsidiaries, shall meet and confer
                                                                         22   regarding ESI and document preservation.
                                                                         23           By September 17, 2014, the parties shall submit a joint status report regarding the progress
                                                                         24   of the meet and confer discussions on transactional data and preservation, and shall identify for the
                                                                         25   court any outstanding disputes.
                                                                         26   V.      Discovery Regarding Foreign Defendants’ Corporate Structures, Location of Facilities,
                                                                                      and Identification of Customers
                                                                         27
                                                                         28


                                                                                                                                     3
                                                                                Case 4:13-md-02420-YGR Document 475 Filed 07/11/14 Page 4 of 4



                                                                         1           Plaintiffs may immediately serve interrogatories on all foreign Defendants regarding their
                                                                         2    corporate structures, location of relevant facilities, and identification of customers. The parties shall
                                                                         3    negotiate an appropriate response deadline for Defendants.                   ISTRIC
                                                                                                                                                      TES D      TC
                                                                         4                                                                          TA




                                                                                                                                                                        O
                                                                                                                                             S




                                                                                                                                                                         U
                                                                                                                                           ED
                                                                         5    Dated: July 11, 2014




                                                                                                                                                                          RT
                                                                                                                                                         ORD         ERED




                                                                                                                                       UNIT
                                                                         6                                                                      IT IS SO




                                                                                                                                                                                R NIA
                                                                         7                                                            DONNA M. RYU
                                                                                                                                      United States Magistrate Judge yu
                                                                                                                                                                M. R




                                                                                                                                        NO
                                                                         8                                                                                  onn  a
                                                                                                                                                    Judge D




                                                                                                                                                                                FO
                                                                                                                                         RT




                                                                                                                                                                            LI
                                                                         9
                                                                                                                                                ER




                                                                                                                                           H




                                                                                                                                                                        A
                                                                                                                                                     N                      C
                                                                         10                                                                                            F
                                                                                                                                                         D IS T IC T O
                                                                                                                                                               R
United States District Court




                                                                         11
                               For the Northern District of California




                                                                         12
                                                                         13
                                                                         14
                                                                         15
                                                                         16
                                                                         17
                                                                         18
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28


                                                                                                                                  4
